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PROB 12A
(7/93)

                                 United States District Court
                                            for
                                  District of New Jersey
                          Report on Offender Under Supervision
his
Name of Offender: Daniel Cardillo                                                     Cr.: 13-00121-002
                                                                                       PACTS #: 66353

Name of Sentencing Judicial Officer:     THE HONORABLE JEROME B. SIMANDLE
                                         SENIOR UNITED STATES DISTRICT JUDGE

Name of Assigned Judicial Officer:       THE HONORABLE NOEL L. HILLMAN
                                         UNITED STATES DISTRICT JUDGE
Date of Original Sentence: 12/16/2015

Original Offense:   18 U.S.C. § 371 [18 U.S.C. § 1343] – Conspiracy to Commit Wire Fraud

Original Sentence: 60 months probation

Special Conditions: Special Assessment - $100, Restitution - $200,000.00 Community Service – 100
hours, Financial Disclosure, Life Skills Counseling, No New Debt/Credit, Self-Employment/Business
Disclosure

Type of Supervision: Probation                                Date Supervision Commenced: 12/16/2015

                                  NONCOMPLIANCE SUMMARY

The offender has not complied with the following condition(s) of supervision:

Violation Number     Nature of Noncompliance

 1                   Failed to Satisfy Restitution


U.S. Probation Officer Action:

Throughout his term of supervised release, Cardillo was compliant with his restitution order. The
offenders’ supervision is due to expire on December 15, 2020, with an outstanding restitution balance of
$188,200.00 The Financial Litigation Unit of the United States Attorney’s Office was notified of the
expiration of supervision and has a standing order for garnishment of the offender’s earnings and all
future income tax refunds via the Treasury Offset Program (TOP). This Office recommends the
supervision term be allowed to expire as scheduled since the restitution order remains imposed as a final
judgment, pursuant to Title 18, U.S.C., Sections 3554 & 3613.
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                                                                                           Daniel Cardillo



                                                        Respectfully submitted,

                                                        SUSAN M. SMALLEY, Chief
                                                        U.S. Probation Officer




                                                                Javier Marrero, Jr.
                                                        By:   JAVIER MARRERO, JR.
                                                              Probation Technician

/ jm

APPROVED:




Elisa Martinez                    9/18/2020
ELISA MARTINEZ                     Date
Supervising U.S. Probation Officer

Please check a box below to indicate the Court’s direction regarding action to be taken in this case:

XXAllow Supervision to Expire as Schedule on December 15, 2020, (as recommended by the Probation
  Office)
  Submit a Request for Modifying the Conditions or Term of Supervision
   Submit a Request for Warrant or Summons
   Other

                                                                    s/ Noel L. Hillman, U.S.D.J.
                                                                 Signature of Judicial Officer

                                                                   October 9, 2020

                                                                             Date
